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				BOWLDS v. STATE2024 OK CR 19Case Number: F-2021-1155Decided: 07/18/2024CHARLES RANDY BOWLDS, JR., Appellant v. THE STATE OF OKLAHOMA, Appellee

Cite as: 2024 OK CR 19, __  __

				

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ORDER TO PUBLISH


¶1 On June 19, 2024, Appellee, the State of Oklahoma, by and through Attorney General Gentner F. Drummond, filed a Motion To Publish Opinion in the above-styled case. The Attorney General asserts that publication of this Court's Summary Opinion herein (Bowlds v. State, Case No. F-2021-1155 (June 6, 2024), not for publication) is warranted because it addressed the issue of re-appointment of counsel after a valid prior waiver of counsel.

¶2 Appellee's Motion to Publish is GRANTED. The Clerk of this Court is hereby directed to designate the Summary Opinion issued on June 6, 2024, as "For Publication." The unpublished opinion is withdrawn and substituted with 2024 OK CR 20, Bowlds. V. State.

¶3 IT IS SO ORDERED.

¶4 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 18th day of July, 2024.

/s/SCOTT ROWLAND, Presiding Judge

/s/WILLIAM J. MUSSEMAN, Vice Presiding Judge

/s/GARY L. LUMPKIN, Judge

/s/DAVID B. LEWIS, Judge

/s/ROBERT L. HUDSON, Judge


ATTEST:
/s/John D. Hadden
Clerk



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